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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

BISCOTTI INC.,                               §
                                             §
              Plaintiff,                     §    Case No. 2:13-CV-01015-JRG-RSP
                                             §
v.                                           §
                                             §
MICROSOFT CORP.,                             §
                                             §
              Defendant.                     §
                                             §

                                         ORDER

       Before the Court is the Report and Recommendation filed by Magistrate Judge Payne on
     .
April 12, 2017 (Dkt. No. 159) recommending that Plaintiff Biscotti Inc.’s Motion to Dismiss

Defendant Microsoft’s Corp.’s Amended Answer (Dkt. No. 64) be denied. No objections have

been filed. Accordingly, and after a de novo review, the Report and Recommendation is

ADOPTED.

      Plaintiff Biscotti Inc.’s Motion to Dismiss Defendant Microsoft’s Corp.’s Amended

Answer (Dkt. No. 64) is DENIED.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 28th day of April, 2017.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE
